Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 1 of 7




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                            CASE NO. 21-23216-CIV-SCOLA/GOODMAN

  ARI FINANCIAL GROUP, LLC,

          Plaintiff,

  v.

  JOSEF SCHIFFER and PROSPEROUS
  FINANCIAL GROUP, LLC,

        Defendants.
  _______________________________________/

                   JOINT DISCOVERY PLAN AND CONFERENCE REPORT

       Plaintiff, ARI FINANCIAL GROUP, LLC (“AFG”), and Defendants, Josef Schiffer

  (“Schiffer”) and Prosperous Financial Group, LLC (“Prosperous”) (collectively, Plaintiff and

  Defendants are referred to herein as the “Parties”), through undersigned counsel and pursuant to

  Fed. R. Civ. P. 26(f), Local Rule 16.l(b), and this Court’s Paperless Order dated October 19,

  2021 (“Order”), file this Joint Discovery Plan and Conference Report (“Report”), as follows:

                       I.       Information Required by S.D. Fla. L.R. 16.1(b)

          A. Likelihood of Settlement. The likelihood of settlement is unknown at this time. The

  parties are open to settlement if possible.

          B. Likelihood of Appearance in the Action of Additional Parties. The parties do

  not presently anticipate any additional parties, but reserve the right to add any additional parties

  subject to the deadline to add parties t h a t i s p r o p o s e d i n S e c t i o n I I ( F ) b e l o w . The

  Standard Track sets forth a deadline to add parties of five (5) weeks after entry of the Scheduling

  Order. Given the current status of the pleadings, the parties request that this deadline be

  December 21, 2021.
Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 2 of 7




          C. Discovery Schedule/Selection of Standard Case Track. The parties advise the

  Court that they would prefer to be assigned to the Standard Scheduling Track, which has

  been used to calculate the deadlines set forth in S e c t i o n I I ( F ) b e l o w .

          D. Proposals for the Formulation and Simplification of Issues. At this time, the

  parties do not have any proposals for the formulation and simplification of any issues. The

  parties will continue to consider in good faith any way in which the matters in this case could be

  simplified.

          E. Necessity of Amendments to Pleadings. On August 9, 2021, Plaintiff commenced

  this action by filing its Complaint in the Circuit Court in the Eleventh Judicial Circuit in and for

  Miami-Dade County, Florida (the “State Court”). On September 6, 2021, Defendants filed a

  Notice of Removal of the Complaint to this Court [ECF No. 1]. On September 8, 2021, Plaintiff

  filed its Amended Complaint [ECF No. 5].           Plaintiff filed a Renewed Motion for Remand on

  September 8, 2021 [ECF No. 6]. On October 11, 2021, Defendants filed a Corrected Motion to

  Dismiss the Complaint [ECF No. 12]. On October 15, 2021, Defendants filed their Response in

  Opposition to Plaintiff’s Amended Motion for Remand, and a stand-alone Counterclaim

  asserting federal claims against Plaintiff [ECF Nos. 13, 14]. On October 22, 2021, Plaintiff filed

  its Motion to Strike Defendants’ Counterclaim [ECF No. 17]. Also, on October 22, 2021,

  Plaintiff also filed its Reply in Support of its Amended Motion for Remand [ECF No. 18] and its

  Motion for Extension of Time to Reply to Defendants’ Corrected Motion to Dismiss [ECF No.

  16].

          The Standard Track sets forth a deadline to amend pleadings of five (5) weeks after entry

  of the Scheduling Order. Given the current status of the pleadings, the Parties request that this

  deadline be December 21, 2021 and respectfully reserve the right to amend as permitted by Fed.



                                                      2
Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 3 of 7




  R. Civ. P. 15.

          F. Admissions and Stipulations Which Will Avoid Unnecessary Proof. The Parties

  will work together to obtain admissions of fact and of documents, and stipulations regarding

  authenticity of documents and ESI, to narrow the need for Court rulings regarding such issues

  prior to or at trial.

          G. Suggestions for the Avoidance of Unnecessary Proof and of Cumulative

  Evidence. The Parties will work together to obtain admissions and stipulations that will avoid

  unnecessary proof and presentation of cumulative evidence at trial.

          H. Referral of Matters to Magistrate Judge. The Parties do not consent to trial by

  the Magistrate Judge, and do not consent to the disposition of dispositive pre-trial motions by

  a Magistrate Judge.

          I.   Preliminary Estimate of the Time Required for Trial. The Parties believe that

  this matter will require 4-5 days of trial.

          J. Pretrial Conference and Trial Dates. The Parties request that the pretrial

  conference and trial be scheduled as set forth in S e c t i o n I I ( F ) b e l o w .

          K. Other Information Helpful to the Court in Setting the Case for Status

  or Pretrial Conference. At this time, the parties are unaware of any other information that

  might be helpful to the Court in setting the case for status or pretrial conference.

                          II.   Discovery Plan Pursuant to Fed. R. Civ. P. 26(f)

          A. Timing, form, or requirement for disclosures under Rule 26(a). The Parties have

  agreed to exchange initial disclosures pursuant to Federal Rule of Civil Procedure 26(a) by

  December 10, 2021.

          B. Subject and timing of discovery. The Parties may conduct discovery relating to the



                                                       3
Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 4 of 7




  issues raised in the Amended Complaint and Counterclaim, in accordance with the deadlines in

  the Proposed Scheduling Order based on the Standard Track, Exhibit “1” hereto.

          C. Discovery of electronically stored information. The Parties will confer regarding

  discovery of electronically stored information. Document production shall be done initially in

  PDF or hard copy format. Production of electronically stored information (ESI) in native format

  with intact metadata shall not generally be required . In the event questions arise relating to

  the genuineness, authenticity, disposal, alteration or modification of any particular documents,

  counsel for the Parties will discuss production of same in native format, with metadata, if such is available

  for the involved documents.

          D. Procedure regarding production of confidential information. The P arties are

  competitors in the advanced life insurance concepts and premium financing services industry.

  The Parties shall discuss the form of an agreement and proposed order to protect the

  confidentiality of information (documents and testimony) disclosed in discovery, and plan to

  submit same to the Court for approval and entry as an Order.

          E. Changes to or Limitations on Discovery Under the Applicable Rules. The Parties

  plan to conduct discovery as permitted by the applicable rules and do not foresee a need for

  any further changes or limitations thereto.

          F. Proposed Deadlines. The Parties shall comply with the following schedule:


  DEADLINE TO JOIN ADDITIONAL PARTIES OR                          December 21, 2021 1
             TO AMEND PLEADINGS
             DEADLINE TO FILE JOINT INTERIM                       February 8, 2021
                    STATUS REPORT


  1
    The Standard Track sets forth a deadline to amend pleadings of five (5) weeks after entry of the
  Scheduling Order, i.e., November 23, 2021. Given the current status of the pleadings, the Parties
  request that this deadline be December 21, 2021.
                                                       4
Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 5 of 7




    DEADLINE TO COMPLETE ALL DISCOVERY        April 26, 2022
     DEADLINE TO SUBMIT JOINT NOTICE
INDICATING WHETHER THE PARTIES CONSENT
 TO JURISDICTION BEFORE THE DESIGNATED
 MAGISTRATE JUDGE FOR PURPOSES OF FINAL
                DISPOSITION
  DEADLINE TO EXCHANGE EXPERT WITNESS
SUMMARIES/REPORTS PURSUANT TO FEDERAL
RULE OF CIVIL PROCEDURE 26(a)(2). REBUTTAL
  DISCLOSURES ARE PERMITTED, AND MUST
  CONFORM TO THE DEADLINE SET FORTH IN
    FEDERAL RULE OF CIVIL PROCEDURE
                26(A)(2)(D)(ii)

   (WHEN A TREATING PHYSICIAN TESTIFIES
  REGARDING OPINIONS FORMED AND BASED
   UPON OBSERVATIONS MADE DURING THE
    COURSE OF TREATMENT, THE TREATING
    PHYSICIAN NEED NOT PRODUCE A RULE
 26(a)(2)(B) REPORT. BY CONTRAST, TREATING
   PHYSICIANS OFFERING OPINIONS BEYOND
    THOSE ARISING FROM TREATMENT ARE
 EXPERTS FROM WHOM FULL RULE 26(a)(2)(B)
            REPORTS ARE REQUIRED.)



       DEADLINE FOR THE FILING OF ALL         May 10, 2022
           DISPOSITIVE MOTIONS.
     DEADLINE TO COMPLETE MEDIATION,          May 24, 2022
  CONSISTENT WITH THE ORDER OF REFERRAL
     TO MEDIATION (WHICH IMMEDIATELY
      FOLLOWS THIS SCHEDULING ORDER)
     DEADLINE TO COMPLETE ALL EXPERT          June 28, 2022
                DISCOVERY
    DEADLINE FOR THE FILING OF PRETRIAL       August 30, 2022
   MOTIONS, INCLUDING MOTIONS IN LIMINE
           AND DAUBERT MOTIONS




                                       5
Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 6 of 7




     DEADLINE TO FILE JOINT PRETRIAL       October 3, 2022
STIPULATION PURSUANT TO LOCAL RULE 16.1(e)
  AND PRETRIAL DISCLOSURES PURSUANT TO
 FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3)




        DEADLINE TO FILE PROPOSED JURY                     October 17, 2022
  INSTRUCTIONS (IF THE MATTER IS SET FOR A
 JURY TRIAL) OR PROPOSED FINDINGS OF FACT
  AND CONCLUSIONS OF LAW (IF THE MATTER
    IS SET FOR A BENCH TRIAL PURSUANT TO
              LOCAL RULE 16.1(k).
                 TRIAL PERIOD                              November 7, 2022 2




        We hereby certify that all parties have met and conferred regarding all proposed
 dates for the Joint Discovery Plan and Conference Report and certify that all dates
 proposed in the Joint Discovery Plan have been agreed to by the parties.

            Date: October 26, 2021



Respectfully submitted:



      KLUGER, KAPLAN, SILVERMAN,                     BERENTHAL & ASSOCIATES, P.C.
      KATZEN & LEVINE, P.L.                          Counsel for Defendants
      Counsel for Plaintiff                          255 Alhambra Circle
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      By: /s/ Michael T. Landen                      By: /s/ David W. Berenthal

  2
   In light of the Jewish holidays which fall in the 48 week timeframe from today, Defendants’
  counsel requests that the trial date be pushed back to November 7, 2022 to allow for preparation.

                                                 6
Case 1:21-cv-23216-RNS Document 20 Entered on FLSD Docket 10/26/2021 Page 7 of 7




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                                  CERTIFICATE OF SERVICE

      I hereby certify that on October 26, 2021, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record identified on the attached Service List in the manner specified,

  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                          SERVICE LIST

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                                                By: /s/ Michael T. Landen_________
                                                    Michael T. Landen




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